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                                   ABG G DO N D IVISIO N

  UNITED STATES OF AM ERICA                      : Crim inalNo.1:19-cr-00022 (JPJI
                                                 :
              V.                                 :
                      .                          :
  W AQAR UL-HASSAN                               :
                                                 :

                                  STA TEWC NT O F O FFEN SE

         The offensesdescribed below occurred w ithin the W estem DistrictofV irginia,asw ellas
  other districts. This Statem ent of Facts briefly sllm m arizes the facts and circum stances
  surrounding the defendant'scrim inalconduct. ltdoesnotcontain a11ofthe inform ation obtained
  during this investigation and applicable to an accurate Presentence Report and Sentencing
  Guidelinescalculation.

         This statem entoffacts isnotprotected by profferagreem entorany otheragreem ent,and
  shallbe w holly adm issible at trialin the eventthis plea is later withdraw n notwithstanding any
  Rules orstatutes to the contrary,including butnotlim ited to,FederalRulesofEvidence 408 and
  410,and FederalRule ofCrim inalProcedure 11.

         The FBIRoanoke ResidentAgency CtRoanoke RA'')islocated in Roanoke,Virginia,
  which isw ithin the W estern DisttictofV irginia. The FBlRoanoke R A and its counterterrorism
  specialagents are charged w ith intem ationaltelw rism investigations w ithin,and affecting,the
  W estem D istrict of Virginia. In m any cases,these counter-terrozism ilw estigations focus on,
  am ong other things,whether an individualhas had contactwith - or hasprovided supportto -
  anyforeignterroristorganization(FTO).
         On or about July 25,2014,the FBlRoanoke ResidentAgency (<t1kA'') initiated an
  intemationalterrorism investigation ofW aqarUl-llassan based on information thithe was in
  Com m uniCation with persons associated with FTOs. A tthe tim e the investigation was initiated,
  the defendantw asliving in Pakistan.

         1.        Count O ne: H assan's False Statem ents R egarding Association w ith
                   Terrorijtor Extrem istGroups on M ay 20,2015.

          The defendantretarned to the United States on M ay 18,2015 and resided in and arotm d
  G lade Spring,Virginia,which is w ithin the W estern DistrictofV irginia. On or aboutM ay 20,
  2015,FB1 persorm elinterview ed the defendantin Abingdon,Virginia regarding his knowledge

  Defendant'sIni6als:/V --M                                               '


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      ofpersons who supported orwere otherwise associated with FTOs. The defendantwasadvised
      by intervicw ing FBIagcntsthatitwasa crim e to betlntruthftllin hisstatem entsto theFBI.
            Dufing this interview,and afterhaving been rem inded by the intcrview ing agentsthatit
      wasacrimetobeuntruthfulin hisstatementsto the FBI,thedefendantsaid he did notsupport'
     any terroristgroupsorextremists,and did notknow anvone who w as a m em berofaterroristor
     extrem istgroup.

            On oraboutNovember18 and 19,20l5,the defendantwas interviewed by FBlpersonnel
     in Charlottcsville,Virginia. A lthough he was notim custody,the dcfendantw as advised ofhis
     Miranda rightsand he signed an acknowledgmùntthatheunderstoodthoserightsin advanceof
     thc interviews. During the intcrviews,thc defendantacknowledged being untruthfulin previous
     FB1interviews regarding hisknowledge ofpersons associated with FTOs. Tfle defendant
     admitted to extcnsive contactswith arecruitcrfrom Jaish-e-Mohammad (or*%Jek''),who he
     identified bynam e. The defendantadm itted to exchanging phone numberswith therecruiterand
     havingseveralcpnversationsaboutjihadwithhim. Thedefendantfurtheradmittedhctraveled
     to - and stayed w ith - JeM extremistsfortwo orthreedaysin 2014,traveled in Pakistan in 20l3
     and 2014 to collectm oney and food forJeM extrem ists,and passed outrecruiting newspapersfor
                                               .

     JeM in Pakistan in 2014. HASSAN adm itled thathehad nötbeen truthfulto FBIagentsbecause
     bcknew JeM wasaterroristgroup.

            II.    CountTwo: Hassan'sFalse Statem entsAboutA ttem pting to Send M pney to
                   ISIS on October 16,2015

            On oraboutOctober 16,20l5,HASSAN wasinterviewed by agentsofthe FB1Roanoke
     RA in Bristol,Tenncjsee. During the interview,HASSAN stated thathe never tried to send
     m onev to Svria for ISIS and that he never asked IndividualA about sending m onev to ISIS.
     Aierfurtherquestioning,HA SSAN adm itted having a conversation w ith lndividualA in which
     he asked forhelp aboutsending $l50 to ISIS in Syria,butsaid he never intended to follow
     through w ith sending the m oney to ISIS. He fw therstated thathe soughtthisindividual's advice
     on sending the money becauseheknew thatindividualwaspro-1S1S.

             On November I8,2015,HASSAN w as interviewed by FBIpersonnelin Charlottesville,
     Virginia. HASSAN again acknowledged having aconversation witb lndividualA aboutsending
     m oney to ISIS in Syria,butclaim ed thathew asqsnotserious''and neverintended to send m oney
     to ISIS in Syria.                                                                7

              On November l9,2015,HA SSAN wasinterviewed again in Charlottesville,Virginia. ln
     this interview,HA SSA N adm itted he w as untruthfulin hisprevious statem entsto the FBlabout
     sendinjmoney to ISIS,and thatl1ewasseriousaboutsendingmoney toISIS. ln'connection
     with thlsintervicw,Hassan signed astatemcntacknowledgingthatEslbjecauselwasàngryabout
     whatwas happening to the M uslim s around the world,Iwas serious aboutsending $175.00 to
     thtJihadistsin Syria.'' HASSAN said he ttdid notsend the money because Idid nothavc a way
     to getthem oney there.''

     Defendant'sInitials: --'P




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     oate, co   l'
                 ho'z-hïA                  W aqar l-Hassan
                                           Defendant


     Date: :/a//$'
                                           R y argill,Esq.
                                           CounselforDefendant


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                                           AssistantUnited atesAtlorney




     Defotdant'
              sInitials:   .--/-
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